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                                      SETTLEMENT AGREEMENT

        This Settlement Agreement ("Agreement"), effective as of the day upon which all parties to this
Agreement have fully and finally executed this Agreement (the "Effective Date"), is made by and between
Simbi Kesiyi Wabote ("Wabote") and Jackson Ude ("Ude"). Wabote and Ude are collectively referred to
as the "Parties" and each individually as a "Paity" in this Agreement.

        WHEREAS, Wabote filed Case No. 5:21-cv-02214-JFL, Simhi Kesiyi Wabote v. Jackson Ude
(the "Lawsuit"), in the United States District Comt for the Eastern District of Pennsylvania (the "Court")
alleging that Ude committed several acts of defamation against Wabote;

        WHEREAS, Ude denies Wabote's allegations and expressly denies any liability;

        WHEREAS, to avoid continued Litigation, the Parties desire and do enter into this Agreement;

        NOW, THEREFORE, in consideration of the promises and obligations hereto and other good
and valuable consideration, the adequacy, sufficiency, and receipt of which is hereby conclusively
acknowledged, the Parties agree as follows:

                                         SPECIFIC PROVISIONS
1.      Ude represents and warrants that his employer, Point Blank News, will cooperate with him and
        work with him for the good faith and amicable resolution of this matter. Ude further represents
        and warrants that he does not own Point Blank News and that Point Blank News is his employer.

2.      Ude will reasonably and in good faith take down, delete, and destroy all articles and publications
        that allege any criminal or other misconduct by Wabote appearing on the Point B lank News
        website and from Ude's social media accounts, especially, those publications in issue in this
        case. Thereafter, if Wabote reasonably discovers any article or publication violative of this
        agreement still existing, Wabote will inform Ude first and give Ude reasonable notice to delete,
        before such may be deemed a breach.

3.      Neither Ude nor Wabote will (directly or indirectly) engage in any act either to harass or spread
        false information against each other or each other's family,

4.      Neither Ude nor Wabote will {directly or indirectly) publish any false or defamatory infonnation
        about each other or each other's family, with liquidated damages of$25,000 per any such
        publication and attorneys' fees to the winner of any litigation therefrom, In such a litigation, the
        P laintiff is a winner ifhe wins, and the Defendant is a winner if the P laintiff losses or if the case
        is dismissed (unless the case is dismissed on stipulation or consent of both parties).
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5.      Within (7) days from the Effective Date, Wabote and Ude will execute and file with the Court
        the necessary stipulation to dismiss the Lawsuit, in the form of Annex A hereto.

6.      Within (7) days from the Effective Date, Ude will send Wabote (through the parties' attorneys),
        and publish only once on the Point Blank News website (which shall be remain viewable from
        the homepage for seven days), a signed and dated certification, in the fonn of Annex B hereto.

7.      No amount of money will exchange hands between the Parties as part of this resolution and
        Agreement.

                                         GENERAL PROVISIONS:

8.      Joint Drafting and Advice of Counsel. The Parties acknowledge that they have been given tlle
        opportunity to seek the advice of independent counsel, and that they are executing this
        Agreement voluntarily after consultation with independent counsel. Accordingly, the normal rule
        of construction to the effect that any ambiguities are to be resolved against the drafting party
        shall not be employed in the interpretation of this Agreement.

9.      Governing Law. This Agreement and all disputes, claims, actions, suits or other proceedings
        arising hereunder or relating hereto ( collectively "Disputes") will be governed by, and construed
        in accordance with, the internal laws of the State of Pennsylvania. The Parties agree that all
        Disputes will be brought exclusively in the U.S. Federal District Court for the Eastern District of
        Pennsylvania and i1Tevocably submits to the sole and exclusive jurisdiction of such court.

10.     Further Documentation. The Parties hereto shall execute any further documents reasonably
        necessary to effectuate the terms of this Agreement, including Annex A and Annex B hereto.

11 .    Entire Agreement. This Agreement contains the entire agreement and understanding between
        the Parties with respect to the subject matter hereof and supersedes any previous or
        contemporaneous agreement and understanding, whether written or oral, between the Parties
        regarding such subject matter. The Parties acknowledge that no other Party nor any agent or
        attorney for any other Party has made any promise, representation, or warranty whatsoever,
        express or implied, written or oral, not contained herein, concerning the subject matter hereof to
        induce the execution of this Agreement, and each of the Parties acknowledges that it has not
        executed this Agreement in reliance on any promise, representation, or warranty not contained
        herein.

12.     Execution. This Agreement may be executed by email or facsimile transmission and
        simultaneously in two or more counterparts, each of which shall be deemed an original, but all of
        which together shall constitute one and the same instrument. Facsimile, e-mailed, and other
        electronic signatures are deemed the equivalent of original signatures.

13.     Amendments and Waiver. No amendment, alteration, modification, or waiver of any term or
        provision of this Agreement, nor consent to any non-perfonnance by either party, shall be
        effective unless the same shall be in writing and signed by both Parties. Conduct that is arguably
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        or actually inconsistent with rights granted under this Agreement shall not constitute a waiver
        unless an intent to waive rights under this Agreement is clearly expressed in writing as required
        by this Section. The waiver of any term or condition contained in this Agreement shall not be
        construed as a waiver of any other tenn or condition contained in this Agreement.

14.     Severability. In the event that any one or more of the provisions of this Agreement is held by a
        court of competent jurisdiction to be invalid, illegal or unenforceable, the validity, legality, and
        enforceability of the remaining provisions will not in any way be affected or impaired thereby.

15.     Notices and Correspondence. Any notice or correspondence appropriate or required to be given
        hereunder shall be by email or certified mail, or, in the alternative, at the option of the sender, by
        messenger, and shall be to the following addresses, or such other address as is subsequently
        noticed in writing to all Parties:

                For Wabote:
                Michael D. Cilento, Esq.
                Lewis & Lin LLC
                77 Sands Street, 6th Floor
                Brooklyn, NY 11201
                michacl@iLawco.com

                For Ude:
                Benneth 0. Amadi, Esq.
                204 Blossom St. Ext., Suite A
                Lynn, MA. 01901
                bamadi law@gmail.com


      IN WITNESS WI-!EREOF, the Parties have duly executed this SE'ITLE.MENT AGREEMENT w ith

full authority to <lo so as of the day and year written below.


           SIMBI KESIYI W ABOTE                                           JACKSON UDE


Signed: _ _ _ _ _ __ _ __ _ _ _ __                       Signed:
                                                                      ~~
Dated: _ _ _ _ _ _ _ _ _ _ _ _ __                        Dated:    _0~~__._(_l  S~/_2---=-?-_ __
                                                                                    I
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         or actually inconsistent with rights granted under this Agreement shall not constitute a waiver
         unless an intent to waive rights under this Agreement is clearly expressed in writing as required
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         messenger, and shall be to the following addres~eis, or such other address as is subsequently
         noticed in writing to all Parties:

                ForWabote:
                Michael D. Cilento~Esq.
                Lewis & Lin LLC
                77 Sands Street, 6th Floor
                Brooklyn, NY 11201
                michael@itawco.com

                For Ude:
                Benneth 0. Amadi, Esq.
                204 Blossom St. Ext., Suite A
                Lynn, MA 01901
                bamadilaw@gmail.com


      rN \VITNESS WHEREOF, the Parties have duly executed this SETTLEMENT AGREEMENT with

foll authority to do so as ofthedi!y and year written below.


                                                                            JAC,"KSONUDE


                                                          Signed:


                /~/6/4o·~~
Dated: - - - -7-r---,,-~- - ~ - - --                      Dated:
                                                                    --------- ------
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Annex A

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 SIMBI KESIYI WABOTE,                                   Civil Action No.: 5:21-cv-02214-JFL

                Plaintiff;
                                                        STIPULATION AND ORDER OF
                V.                                      VOLUNTARY DISMISSAL

 JACKSON UDE,

                Defendant.


         IT IS HEREBY STIPULATED AND AGREED, by and between the parties through their

respective counsels, that the above-captioned action is voluntarily dismissed with prejudice

against Defendant Jackson Ude pursuant to the Federal Rules of Civil Procedures 41 (a)(l )(A)(ii).

Dated:



                                                   Benneth 0. Amad', Es
Lewis                                              204 Blossom St. xt.
77 Sands Street, 6th Floor                         Lynn, MA 0190
Brooklyn, NY 11201                                 bamadilaw@gmail.com
michael@iLawco.com                                 Tel: (781) 58 1-5144
Tel: (718) 243-9323                                Fax: (781) 58 1-5145
Fae: (718) 243-9326
                                                  Attorneys for Defendant
Attorneys for Plaintiff                           Jackson Ude
Simbi Kesiyi Wabote


IT IS SO ORDERED on this / ( day of         J;;,~    2022.
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 AnncxB

Jackson Ude hereby certifies the following:

   1. Point Blank News has taken down, deleted, and destroyed all a:Iticles and publications
   appearing on the Point Blank News website, and Jackson Ude has taken down and deleted all
   articles and publications appearing on Jackson Ude's social media accounts, that allege any
   criminal conduct and/or any other misconduct of any kind by Simbi Wabote.

   2. In the good faith resolution of the case brought by Simbi Wabote against Jackson Ude in
   the U.S. Federal District Court, Eastern District of Pennsylvania, and v-:ithout prejudice to his
   ability to assert his defenses in any other case, Jackson Ude is no longer alleging that there
   exists any evidence of any criminal conduct and/or any other misconduct of any kind against
   Simbi Wabote.

   3. As part of the resolution of this matter, and following this certification, Simbi Wabote has
   agreed to withdraw and end his lawsuit alleging defamation against Jackson Ude currently
   pending in the U.S. Federal District Couct, Eastern District of Pennsylvania, Wabote v. Ude,
   5:2 l-cv-02214-JFL.

   4. No amount of money has exchanged hands in the resolution of this matter.




Dated:



~~
 Jackson Ude
